       Case 4:19-cr-00566-BSM Document 180 Filed 02/03/20 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION


UNITED STATES OF AMERICA


V.                        NO. 4:19-CR-566-14 BSM


RONALD CRAIG SMITH


                          CLERK’S MINUTES

Date:                     February 3, 2020
Before:                   Hon. J. Thomas Ray
Assistant U.S. Attorney   Stephanie Mazzanti for Chris Givens
Defense Attorney          Erin Cassinelli
ECRO/CRD                  Tenesha Brown



Defendant Ronald Craig Smith appeared before Judge J. Thomas Ray for a hearing
on the Government’s Motion to Revoke. After argument from counsel, the Court
granted the Government’s motion and ordered the Defendant remain detained
pending the resolution of all charges.
